     Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 1 of 7 PageID #:529




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC. )
                               )
     Plaintiff,                )
                               )
v.                             )                    Case No. 18-cv-07916
                               )
NORTHWOOD, INC.,               )                    Judge Martha M. Pacold
                               )
     Defendant.                )

           PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE WEISMAN’S
                        REPORT AND RECOMMENDATION

       Plaintiff, Clinical Wound Solutions, LLC, by and through its undersigned counsel, as

its Objections to Magistrate Judge Weisman’s Report and Recommendation states as follows:

I.     The Background presented is not complete and does not present the full context of the
       case.

       The Background presented in the Report does not include the full history of the

pleadings which has a bearing on the discovery process. This case was removed to federal

court on November 30, 2018. The Defendant filed its Motion to Dismiss on December 28, 2018

and the motion was fully briefed by March 21, 2019. There was no ruling on this dispositive

motion until April 30, 2020, more than one year later. The Plaintiff was granted leave to file an

Amended Complaint which was filed on the deadline of October 16, 2020.

       During this time before the ruling was issued, discovery was initiated even though the

parties did not know if, or how much of, the Plaintiff’s Complaint would survive the Motion


                                               1
      Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 2 of 7 PageID #:530




to Dismiss. Discovery should have been suspended and there should have been no discovery

orders entered in this action until such time as a ruling was made on the Motion to Dismiss.

As was held in the case of Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1367 (11th Cir.

1997)

        Facial challenges to the legal sufficiency of a claim or defense, such as a motion
        to dismiss based on failure to state a claim for relief, should, however, be
        resolved before discovery begins. Such a dispute always presents a purely legal
        question; there are no issues of fact because the allegations contained in the
        pleading are presumed to be true. Therefore, neither the parties nor the court
        have any need for discovery before the court rules on the motion. Discovery
        should follow the filing of a well-pleaded complaint.

123 F3d. at 1367. The court concluded that

        In sum, as the burdens of allowing a dubious claim to remain in the lawsuit
        increase, so too does the duty of the district court finally to determine the
        validity of the claim. Thus when faced with a motion to dismiss a claim for relief
        that significantly enlarges the scope of discovery, the district court should rule
        on the motion before entering discovery orders, if possible.

123 F3d at 1368. The discovery process should not have been initiated until after April 30, 2020

as there was no need for it before that date. Even with the chronology of this action and the

pending Motion to Dismiss, the Plaintiff provided responses to the Defendant’s Interrogatories

and almost 600 pages of documents. The Plaintiff has never refused to respond and continues

in its attempts to respond to the Defendant’s Second Set of Interrogatories. The sanction of

dismissal at this time is unjustified.

II.     The Court cannot “implicitly” extend the discovery cutoff date for the Defendant while
        denying the Plaintiff’s request for additional time to issue discovery.

        Plaintiff has argued that the filing of Defendant’s Second Set of Interrogatories on

                                                2
       Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 3 of 7 PageID #:531




January 22, 2020 was well beyond the discovery cutoff date of September 30, 2019. Plaintiff

should be allowed to raise this objection, without a motion, even as Plaintiff has been

attempting to gather the responses to the Defendant’s requests. In his report, the Court stated

that, upon this case being referred for discovery supervision, “this Court has implicitly

extended this deadline”. There was no order entered to this effect. If this deadline was

“implicitly” extended, then there was no basis for the Plaintiff’s Motion for Leave to Issue

Discovery to have been denied on December 3, 2019, long before the Defendant filed its Second

Set of Interrogatories. The discovery schedule should not have been extended for one party

and not the other. The Defendant should not have been allowed to file its Second Set of

Interrogatories. To excuse the Defendant’s late filing of discovery with this “implicit”

extension of the discovery cutoff date and then sanction the Plaintiff for not being able to

timely complete its responses is not proportionate and is unjustified.

III.     This Court must exercise restraint and not impose the sanction of dismissal.

         USCS Federal Rule of Civil Procedure, Rule 37(b)(2) provides the sanctions that are

available for not obeying a discovery order, including the dismissal of the pending action. In

the case of Webber v. Eye Corp., 721 F.2d 1067, 1069 (7th Cir. 1983), the Court held that “The

sanction of dismissal is the most severe sanction that a court may apply, and its use must be

tempered by a careful exercise of judicial discretion.” 721 F.2d at 1070. The court in Schilling

v. Walworth County Park & Planning Commission, 805 F.2d 272, 275 (7th Cir. 1986) held that

         The sanction of dismissal with prejudice must be infrequently resorted to by
         district courts in their attempts to control their dockets and extirpate nuisance

                                                3
    Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 4 of 7 PageID #:532




       suits. In the normal course of events, justice is dispensed by the hearing of cases
       on their merits; only when the interests of justice are best served by dismissal
       can this harsh sanction be consonant with the role of courts.

See also Shea v. Donohoe Constr. Co., 254 U.S. App. D.C. 175 (D.C. Cir. 1986) (holding that the

choice between dismissal and lesser sanctions is a product of three considerations: prejudice

to the defendant, prejudice to the judicial system, and deterrence and punishment). In the case

of Long v. Steepro, 213 F.3d 983, 986 (7th Cir. 2000), the court held that

       This ultimate sanction is reserved for cases in which the offending party has
       demonstrated willfulness, bad faith or fault. ‘Absent [these] circumstances, the
       careful exercise of judicial discretion requires that a district court consider less
       severe sanctions and explain, where not obvious, their inadequacy for
       promoting the interests of justice’.

       In the case of Second Chance Body Armor, Inc. v. American Body Armor, Inc., 177

F.R.D. 633, 637 (N. D. Ill. 1998), the court held that “An award of sanctions must be

proportionate to the circumstances surrounding the failure to comply with discovery.” The

court in Royal Maccabees Life Insurance Company v. Malachinski, 2001 U.S. Dist. LEXIS 3362,

*29, *30 (N.D. Ill. 2001), held that

       The court has broad discretionary power in imposing sanctions. Nonetheless,
       a court should exercise restraint in imposing sanctions and apply only the
       power ‘adequate to the end proposed.’ Sanctions should be proportionate to
       conduct and circumstances surrounding the failure to comply with discovery.

In the case of Ramirez v. T & H Lemont, Inc., 845 F.3d 772, 776 (7th Cir. 2016), the court held

that “Any sanctions imposed pursuant to the court’s inherent authority must be premised on

a finding that the culpable party willfully abused the judicial process or otherwise conducted

the litigation in bad faith”.

                                                4
    Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 5 of 7 PageID #:533




       Plaintiff has not engaged in the type of extreme conduct which would warrant the

dismissal of its cause of action. Plaintiff has not displayed willfulness, bad faith or fault.

Plaintiff has not ignored the Court’s orders and did provide responses to the Defendant’s

initial interrogatories and requests for documents. Plaintiff continues to work on its responses

to the voluminous requests propounded by the Defendant in its Second Set of Interrogatories.

The Plaintiff has not “willfully abused the judicial process or otherwise conducted the

litigation in bad faith”. As was held in Royal Maccabees Life Insurance Company v.

Malachinski, 2001 U.S. Dist. LEXIS 3362, *29, *30 (N.D. Ill. 2001), in this case, a dismissal would

not “be proportionate to conduct and circumstances surrounding the failure to comply with

discovery”.

       Through no fault of the Plaintiff, over a year passed before a ruling on the Defendant’s

Motion to Dismiss was entered. There should have been no discovery initiated until this ruling

was issued on April 30, 2020. Both parties would have saved time and expense if the discovery

process had been suspended until such time as the Motion to Dismiss was decided.

       In light of the circumstances of this case, and the unequal treatment of the parties with

respect to discovery, the sanction of dismissal is not “proportionate” and is unjustified. The

Plaintiff should not be sanctioned with a dismissal for its inability to complete responses to

discovery that the Defendant should not have been allowed to file. There has been no prejudice

to the Defendant. There has been no prejudice to the judicial system as the clock should not

have started until April 30, 2020 and Plaintiff has filed its Amended Complaint. Discovery


                                                5
   Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 6 of 7 PageID #:534




responses were sent to the Defendant on December 31, 2019 and the Defendant has done

nothing except request more. No depositions were requested and no dispositive motions were

filed by the Defendant. The Plaintiff has not willfully disregarded deadlines and is continuing

in its efforts to respond. The “careful exercise of judicial discretion” requires that this

Honorable Court consider less severe sanctions than a dismissal of this action.

       For all of the reasons set forth herein, the Magistrate Judge’s Report and

Recommendation must be denied.

Dated: October 28, 2020                    Respectfully submitted,

                                           By: /s/ Sandra T. Kahn
                                           Sandra T. Kahn
                                           Dickler, Kahn, Slowikowski & Zavell, Ltd.
                                           85 W. Algonquin Road, Suite 420
                                           Arlington Heights, IL 60005
                                           847-593-5595 ext 206
                                           sandy@dicklerlaw.com
                                           Counsel for the Plaintiff




                                              6
   Case: 1:18-cv-07916 Document #: 114 Filed: 10/28/20 Page 7 of 7 PageID #:535




                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, being first duly sworn under oath, depose and state that
I caused to be served the foregoing document by electronically filing the same with the Clerk
for the U.S. District Court for the Northern District of Illinois, Eastern Division, a copy of
which was then forwarded to each attorney of record by CM/ECF on October 28, 2020.

Date: October 28, 2020                     By: /s/ Sandra T. Kahn
                                           Sandra T. Kahn
                                           Dickler, Kahn, Slowikowski & Zavell, Ltd.
                                           85 W. Algonquin Road, Suite 420
                                           Arlington Heights, IL 60005
                                           847-593-5595 ext. 206
                                           sandy@dicklerlaw.com




                                              7
